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                   LYLE W. CAYCE                                                                             TEL 504.JI0-7700
                   CLERK                                                                                  600 S. MAESTRI PLACE,
                                                                                                                  Suite liS
                                                                                                          NEW ORLEANS, LA 70130

                                                         January 27, 2020
                  MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
                          No. 19-10754            Richard DeOtte, et al v. Alex Azar
                                                  USDC No. 4:18-CV-825- cJ

                  The court has granted the motion to supplement the record in this
                  case with Documents 101, 103, and 107, filed on the district court
                  docket.  The originating court is requested to provide us with a
                  supplemental electronic record consisting of the documents
                  outlined in the attached motion.    Counsel is reminded that any
                  citations to these documents must cite to the supplemental
                  electronic record.


                                                                 Sincerely,
                                                                 LYLE W. CAYCE, Clerk

                                                                   {'{/ J.l,MA. rY/Winif
                                                                By:
                                                                Melissa v. Matt~ngly, Deputy Clerk
                                                                504-310-7719
                  Ms. Elizabeth N. Dewar
                  Mr. Charles William Fillmore
                  Mr. Hartson Dustin Fillmore III
                  Ms. Jessica Fuhrman
                  Ms. Crystal Johnson Geise
                  Ms. Susan Pearl Greenberg
                  Ms. Claudia Hammerman
                  Mr. Richard Brian Katskee
                  Ms. Jamie A. Levitt
                  Ms. Melina Maria Meneguin Layerenza
                  Mr. Jonathan F. Mitchell
                  Ms. Karen S. Mitchell
                  Mr. Craig A. Newby
                  Mr. Bruce H. Schneider
                  Ms. Priscilla Joyce Smith
                  Mrs. Heidi Parry Stern
                  Ms. Catherine Weiss
CaseCase: 19-10754
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                              Case No. 19-10754

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE FIFTH CIRCUIT


  RICHARD W. DEOTTE, on behalf of himself and others similarly situated;
YVETTE DEOTTE; JOHN KELLEY; ALISON KELLEY; HOTZE HEALTH &
WELLNESS CENTER; BRAIDWOOD MANAGEMENT, INCORPORATED, on
             behalf of itself and others similarly situated,

                                           Plaintiffs- Appellees,
                                      v.
                            STATE OF NEVADA,

                                           Movant- Appellant.


                On Appeal from the United States District Court
                      for the Northern District of Texas
                          Case No. 4:18-CV-825-0



        APPELLANT STATE OF NEVADA'S MOTION TO
               SUPPLEMENT THE RECORD
                              (UNOPPOSED)



                           HEIDI PARRY STERN
                               Solicitor General
                   Office of the Nevada Attorney General
                   555 E. Washington Avenue, Suite 3900
                          Las Vegas, Nevada 89101
                                702-486-3594
                              hstern@ag.nv .gov
                Counsel for Movant-Appellant, State ofNevada




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                             APPELLANT STATE OF NEVADA'S UNOPPOSED MOTION
                                      TO SUPPLEMENT THE RECORD
                                  Pursuant to Federal Rule of A~ellate Procedure 27(a)(l ), Fifth Circuit Rule

                          27.1.11, and Fifth Circuit Rule 27 .4, Movant-Appellant State of Nevada seeks to

                          supplement the record on appeal to include three relevant documents filed in the

                          district court after the electronic record on appeal was filed with this Court.

                                  Specifically, Appellant would like to include:

                                  •      Document 101, which was Nevada's August 27, 2019 Amended

                                         Notice of Appeal, timely filed after the district court issued its order

                                         denying Nevada's motion to intervene and the district court issued

                                         final judgment;

                                  •      Document 103, which was the federal government's September 27,

                                         2019 Notice of Appeal, filed on September 27, 2019; and

                                  •      Document 107, which .was the district court's October 15, 2019

                                         Notice, in which it found that Nevada should not be denied

                                         intervention on standing grounds, notwithstanding its prior analysis

                                         when issuing the order denying intervention.

                           These documents are attached hereto.

                                  As set forth in Nevada's opening brief, the three subsequent documents from

                           the district court record are relevant to issues raised in this appeal, including

                           Appellee's motion to dismiss premised on standing and the level of adversity

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CaseCase: 19-10754
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provided by the federal government in this case. Appellee's counsel does not

oppose this motion to supplement the record with these three court filings.

      Under these circumstances, good cause exists for granting this unopposed

motion.

                                 CONCLUSION

      The State of Nevada requests that the Court grant this unopposed motion to

supplement the record.

      Dated: January 24, 2020,

                                       SUBMITTED BY:

                                       s/Heidi Parry Stem
                                       HEIDI PARRY STERN
                                       Office of the Nevada Attorney General
                                       555 E. Washington Ave., Suite 3900
                                       Las Vegas, NV 89101
                                       702-486-3594
                                       hstem@ag.nv .gov
                                       Counsel for Movant-Appellant, State of
                                       Nevada




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                     CERTIFICATE OF CONFERENCE

      Pursuant to Fifth Circuit Rule 27.4, I certify that Craig A. Newby, counsel

for Nevada, conferred with Jonathan F. Mitchell, counsel for Plaintiffs-Appellees,

who informed him that Plaintiffs-Appellees are unopposed to this motion.

      Dated: January 24, 2020

                                      Is/ Heidi Parry Stern
                                      HEIDI PARRY STERN
                                      Office of the Nevada Attorney General
                                      555 E. Washington Ave., Suite 3900
                                      Las Vegas, NV 89101
                                      702-486-3594
                                      hstern@ag.nv .gov
                                      Counsel for Movant-Appellant, State of
                                      Nevada




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                         CERTIFICATE OF SERVICE

      I certify that I electronically filed the foregoing document with the Clerk of

the Court for the United States Court of Appeals for the Fifth Circuit by using the

appellate CMIECF System on January 24, 2020. I certify that all participants in

the case are registered CMIECF users and that service will be accomplished by the

appellate CM!ECF system.

      Dated: January 24, 2020.

                                       s/Heidi Parry Stem
                                      An employee of the Office of the Nevada
                                      Attorney General




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CaseCase: 19-10754
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                      CERTIFICATE OF COMPLIANCE

      1.   This document complies with the word limit of          FED.   R. Arr. P.

32(a)(7)(B) because, excluding the parts of the document exempted by        FED.   R.

Arr. P. 32(f), this document contains 236 words.

      2. This document complies with the typeface requirements of FED. R.      APP.

P. 32(a)(5) and the type-style requirements of FED. R. APP. P. 32(a)(6) because this

document has been prepared in a proportionally spaced typeface using Microsoft

Word 201 0 in Times New Roman, 14 point font.

      Dated: January 24, 2020.

                                       s/Heidi Parry Stem
                                       HEIDI PARRY STERN
                                       Office of the Nevada Attorney General
                                       555 E. Washington Ave., Suite 3900
                                       Las Vegas, Nevada 89101
                                       702-486-3 594, hstem@ag.nv .gov
                                       Counsel for the State ofNevada




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                                                                 PageID 2196




               SUPPLEMENTAL DOCUMENTS INDEX



    1       08/27/19    Amended Notice of Appeal, U.S. District           001
                        Court, Case No. 4:18-CV-825-0 [ECF No.
                        101]
    2       09/27/19    Notice of Appeal, filed by the Federal            007
                        Defendants, U.S. District Court, Case No.
                        4:18-CV-825-0 [ECF No. 103]
    3       10/15/19    Notice, amending the Court' s July 29, 2019       009
                        Order denying the State ofNevada's Motion
                        to Intervene re: Standing, U.S. District
                        Court, Case No. 4:18-CV-825-0 [ECF No.
                        1071




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          EXHIBIT 1




           EXHIBIT 1
            Case 4:18-cv-00825-O
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                                                                                       NORTHERN DISTRICT OF TEXAS
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                                                                                             [_~~~-;]
                                                   No. 19-10754

                                               IN THE
                                   UNITED STATES COURT OF APPEALS                       CLERK, U.S. DISTRICT COURT
                                        FOR THE FIFTH CIRCUIT                           By                       "tZ:,
                                                                                  I_                Deputy




                 RICHARD W. DEOTTE, on behalf of themselves and others similarly situated;
                YVETTE DEOITE, on behalf of themselves and others similarly situated; JOHN
                   KELLEY, on behalf of themselves and others similarly situated; ALISON
                    KELLEY, on behalf of themselves and others similarly situated; HOTZE
                HEALTH & WELLNESS CENTER, on behalf of themselves and others similarly
                       situated; BRAIDWOOD MANAGEMENT, INCORPORATED,

                                                              Plaintiffs - Appellees

                                                         v.
                                              STATE OF NEVADA,

                                                                Appellant.


                                                  On Appeal from
                           United States District Court for the Northern District of Texas
                                                   4: 18-CV-825-0


                                       AMENDED NOTICE OF APPEAL
                                        APPELLANT State of Nevada


                                                                    AARON D. FORD
                                                                    Attorney General
                                                                    Is/ Heidi Parry Stern
                                                                    HEIDI PARRY STERN
                                                                    Solicitor General
                                                                    555 E. Washington Avenue
                                                                    Las Vegas, NV 89101-0000




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                                                                                                  I
                                                                                                  II
      PLEASE TAKE NOTICE that Proposed Intervenor State of Nevada hereby
                                                                                                  I
appeals to the United States Court of Appeals for the Fifth Circuit from this                     I
                                                                                                  I
Court's July 29, 2019 Judgment, ECF No. 98; the Court's March 30, 2019 Order,                     I
                                                                                                  I
ECF No. 33, granting Plaintiffs' motion for class certification; the Court's Aprill,              I
2019 Order, ECF No. 37, amending class certification; the Court's June 6, 2019                    I
                                                                                                  I
Order, ECF No. 76, granting Plaintiffs' motions for summary judgment and for                      I
                                                                                                  I
permanent injunction; and this Court's July 29, 2019 Order, ECF No. 97, denying                   I
State ofNevada's motion to intervene. Nevada previously filed a notice of
protective appeal on July 3, 2019 to preserve its right to appeal pending resolution
of the then-pending motion for intervention and the issuance of final judgment.
      RESPECTFULLY SUBMITTED this 27th day of August, 2019.


                                          AARON D. FORD                                       I
                                          Attorney General                                    I
                                                                                              I
                                                                                              I
                                          By: /s/ Heidi Parry Stern
                                             HEIDI PARRY STERN
                                                                                              I
                                                                                              I
                                             (NV Bar 8873) (pro hac vice pending)             I
                                             Solicitor General                                I
                                             CRAIG A. NEWBY                                   I
                                             (NV Bar 8591) (pro hac vice pending)             I
                                             Deputy Solicitor General                         I
                                             Nevada Attorney General
                                                                                              I
                                                                                              I
                                             555 E. Washington Avenue                         I
                                             Las Vegas, Nevada 89101                      I
                                             (702) 486-3594 Telephone
                                             HStem@ag.nv .gov
                                             CNewby@ag.nv.gov
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                                  CERTIFICATE OF SERVICE                                            I
                                                                                                    I
      I hereby certify that I electronically filed the foregoing with the clerk of                  I
                                                                                                    I
court for the United States District Court for the Northern District of Texas, by                   I
                                                                                                    I
                                                                                                    I
using the CMIECF system on the 27th day of August, 2019.                                            I
                                                                                                    i
      I further certify that that I have served counsel of record for all parties                   I


through this Court's CMIECF system.                                                             I
                                                                                                I
                                                                                                I
 Appellees:                                 Counsel for Appellees:
 Braidwood Management,                      Hartson Fillmore of Fillmore Law Firm,              I
 Incorporated                               L.L.P. Fort Worth, TX                               I
 Braidwood Management,                      Charles Fillmore of Fillmore Law Firm,              I
 Incorporated                               L.L.P. Fort Worth, TX                               I
 Braidwood Management,                      Jonathan Mitchell Austin, TX                        I
 Incorporated
 Richard DeOtte                             Hartson Fillmore of Fillmore Law Firm,
                                                                                                I
                                                                                                I
                                            L.L.P. Fort Worth, TX
 Yvette DeOtte                              Hartson Fillmore of Fillmore Law Firm,              I
                                                                                                I
                                            L.L.P. Fort Worth, TX
 Richard DeOtte                             Charles Fillmore of Fillmore Law Firm,
                                            L.L.P. Fort Worth, TX
 Yvette DeOtte                              Charles Fillmore of Fillmore Law Firm,
                                            L.L.P. Fort Worth, TX
 Richard DeOtte                             Jonathan Mitchell Austin, TX
 Yvette DeOtte                              Jonathan Mitchell Austin, TX
 Hotze Health & Wellness Center             Charles Fillmore of Fillmore Law Firm,
                                            L.L.P. Fort Worth, TX
 Hotze Health & Wellness Center             Jonathan Mitchell Austin, TX ·
 Alison Kelley                              Hartson Fillmore of Fillmore Law Firm,
                                            L.L.P. Fort Worth, TX
 John Kelley                                Hartson Fillmore of Fillmore Law Firm,
                                            L.L.P. Fort Worth, TX
 Alison Kelley                              Charles Fillmore of Fillmore Law Firm,
                                            L.L.P. Fort Worth, TX




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                 Case ~:18-cv-00825-u Document 101 Filed 08/27/19 Page 4 of 6 PageiD 2162




                John Kelley                         Charles Fillmore of Fillmore Law Firm,
                                                    L.L.P. Fort Worth, TX
                Alison Kelley                       Jonathan Mitchell Austin, TX
                John Kelley                         Jonathan Mitchell Austin, TX




                                                 By:    Is/ Sandra Geyer
                                                        SANDRA GEYER
                                                        Office of the Attorney General




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Case Case: 19-10754
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                   CERTIFICATE OF COMPLIANCE

1. This document complies with the FED. R. APP. P. 32(a)(7)(B) because, it is

double spaced excluding the parts of the document exempted by FED. R. APP. P.

32(t) and this document contains 649 words.

2. This document complies with the typeface requirements of FED. R. APP. P.

32(a)(5) and the type-style requirements of FED. R. APP. P. 32(a)(6) because:

this document has been prepared in a proportionally spaced typeface using

Microsoft Office, Word 2016 in Times New Roman pt 14.

                                          AARON D. FORD
                                          Attorney General

                                          By: /s/ Heidi Parry Stern
                                             HEIDI PARRY STERN
                                             (NV Bar 8873) (pro hac vice pending)
                                             Solicitor General
                                             CRAIG A. NEWBY
                                             (NV Bar 8591) (pro hac vice pending)
                                             Deputy Solicitor General
                                             Nevada Attorney General
                                             555 E. Washington Avenue
                                             Las Vegas, Nevada 89101
                                             (702) 486-3594 Telephone
                                             HStem@ag.nv.gov
                                             CNewby@ag.nv .gov




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Case Case: 19-10754


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                                 FIJITH CIRCUIT
                              OFFICE OF TilE CLERK
 LYLE W. CAYCE                                               TEL. 504-31 G-7700
 CLERK                                                    600 S. MAESTRI PLACE,
                                                                  Suite 115
                                                          NEW ORLEANS, LA 70130


                             August 29, 2019


 Ms. Karen S. Mitchell
 Northern District of Texas, Fort Worth
 United States District Court
 501 W. lOth Street
 Room 310
 Fort Worth, TX 76102

       Richard DeOtte, et al v. Alex Azar
       USDC No. 4: 18-CV-825 - t:>


 Dear Ms. Mitchell,
 I am forwarding an amended notice of appeal erroneously sent to us.
 We have noted the date received here {August 27, 2019). When you
 file the amended notice of appeal, please use that date, see
 FED. R. APP. P. 4(d).
                                   Sincerely,
                                   LYLE W. CAYCE, Clerk

                                    ~ u~J'r
                                   By:
                                   Mary Frances Yeager, Deputy Clerk
                                   504-310-7686
 cc:   Mrs. Heidi Parry Stern




                                                                                      0006
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          EXHIBIT 2




           EXHIBIT 2
  CaseCase: 19-10754
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      Case 4:18-cv-00825-0 Document 103 Filed 09/27/19                 Page 1 of 2 PageiD 2169
                                                                                                                I
                                                                                                                I
                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                                                                                            I
                                     FORT WORTH DIVISION                                                    I
RICHARD W. DEOTTE et al.,                    )                                                              I
                                             )                                                              I
               Plaintiffs,                   )       Case No. 4:18-CV-00825-Y
                                             )
       v.                                    )
                                             )
                                                                                                            I
ALEX M. AZAR II, in his official             )                                                              I
capacity as Secretary of Health and          )
Human Services et al.,                       )
                                                                                                            I
                                                                                                            I

                                             )                                                              I
               Defendants.                   )

                                        NOTICE OF APPEAL
                                                                                                            I
       PLEASE TAKE NOTICE that Defendants Alex M. Azar II, in his official capacity as Secretary            I
                                                                                                            I
of Health and Human Services; Steven T. Mnuchin, in his official capacity as Secretary of the Treasury;
                                                                                                            i
                                                             1
Eugene Scalia, in his official capacity as Secretary of Labor; and the United States of America hereby
                                                                                                            I
appeal to the United States Court of Appeals for the Fifth Circuit from the Court's Final Judgment          I
entered on July 29, 2019 [ECF No. 98], as well as all prior orders and decisions that merge into that       I
                                                                                                            I
Judgment, including the Orders entered on March 30,2019 and June 5, 2019 [ECF Nos. 33, 76].

 Dated: September 27,2019                         Respectfully submitted,


                                                  JOSEPH H. HUNT
                                                  Assistant Attorney General

                                                  MICHELLE R. BENNETT
                                                  Assistant Branch Director


                                                   /s/ Daniel Riess
                                                  DANIEL RIESS (Texas Bar# 24037359)
                                                  Trial Attorney
                                                  U.S. Department of Justice

1 Pursuantto Federal Rule ofCiyjl Procedyre 25Cdl( 1l, Eugene Scalia is automatically substituted for his
predecessor, Patrick Pizzella, Acting Secretary of Labor.
                                                    1

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                                                           Civil Division
                                                           II 00 L Street, NW
                                                           Washington, D.C. 20005
                                                           Telephone: (202) 353-3098
                                                           Fax: (202) 6I6-8460
                                                           Email: Daniel.Riess@usdoj .gov
                                                           Attorneys for Defendants




                                              CERTIFICATE OF SERVICE

                   On September 27, 20I9, I electronically submitted the foregoing document with the clerk of

         court for the U.S. District Court, Northern District ofTexas, using the electronic case filing system of

         the court. I hereby certify that I have served all parties electronically or by another manner authorized

         by Federal Rule ofCjyjl Procedure 5(b)C2) or the local rules.


                                                                         Is/ Daniel Riess




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          EXHIBIT 3




           EXHIBIT 3
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   Case 4:18-cv-00825-0 Document 107 Filed 10/15/19                  Page 1 of 2 PageiD 2181


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION


 RICHARD W. DEOTTE et al.,                        §
                                                  §
         Plaintiffs,                              §
                                                  §
 v.                                               § Civil Action No. 4:18-cv-00825-0
                                                  §
 ALEX M. AZAR II et al.,                          §
                                                  §
         Defendants.                              §
                                                  §

                                              NOTICE

        On July 29,2019, the Court denied the State ofNevada's Motion to Intervene. One reason

 for denying Nevada's Motion to Intervene was the Court's conclusion that Nevada did not have

 standing as required by the Supreme Court's recent opinion in Town of Chester v. Laroe County

 Estates, Inc., 137 S, Ct. 1645 (20 17). ECF No. 97. After further briefing and oral arguments in

 Franciscan Alliance, Inc. v, Azar, No. 7:16-cv-108 [hereinafter Franciscan]-neither of which

 occurred prior to the Court's July 29, 2019 order in this case-the Court has determined that

 defendant-intervenors typically need not establish standing because they generally do not "pursue

 relief' within the meaning of Town ofChester. 137 S, Ct, at 1651; see also Franciscan, No. 7:16-

 cv-108, at 12-13 n.3 (N .D. Tex. Oct. 15, 2019), ECF No. 175,

        Like the defendant-intervenors in Franciscan, Nevada did not claim a right to assert

 counterclaims, cross-claims, or any other claim for relief. See generally Mot. Int., ECF No. 62.

 Rather, they emphasized that "[n]o current party represents Nevada's interests in defense of current

 law" and listed defensive actions the federal government did not take Id. at 8. Accordingly, the

 Court has reconsidered its decision and concluded that, at the trial stage, Town ofChester's concept




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of"relief' does not bar Nevada from intervening in this case. 137 S. Ct. at 1651. Nevertheless,

for the other reasons stated in the Court's order, Nevada is not entitled to intervene.

       SO ORDERED on this 15th day of October, 2019.




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                                                       UNITED STATES DISTRICT JUDGE




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